Appellate Case: 23-1457   Page: 1   Date Filed: 03/13/2023 Entry ID: 5254573
                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )
                                                )
v.                                              )       Case No. 2:22-CV-04022-BCW
                                                )
STATE OF MISSOURI, et al.,                      )
                                                )
                       Defendants.              )

                                                ORDER

       Before the Court is Defendant the State of Missouri’s Emergency Motion for Stay of

Judgment and Injunction Pending Appeal. (Doc. #91). The Court, consistent with its oral ruling

during the telephone conference with the parties on March 9, 2023, grants in part and denies in

part said motion. The motion is denied to the extent it requests a stay pending appeal and is granted

as to the request for an administrative stay.

       On March 8, 2023, Defendant the State of Missouri filed a motion to stay judgment pending

appeal. (Doc. #91). Defendant alternatively sought an administrative stay until such time the

parties could brief the issue of a stay to the Eighth Circuit Court of Appeals. The motion requested

ruling within two days.

       On March 9, 2023, the Court held a telephone conference with the parties and heard

argument on the motion. In course of the telephone conference discussion, Plaintiff indicated its

opposition to Defendant’s motion to stay pending appeal and alternative request for administrative

stay. Plaintiff stated the intent to rest on its oral argument by telephone, without need of filing a

written opposition in this Court.




                                                    1

         Case 2:22-cv-04022-BCW Document 96 Filed 03/09/23 Page 1 of 2
     Appellate Case: 23-1457 Page: 2 Date Filed: 03/13/2023 Entry ID: 5254573
       On consideration of Defendants’ Motion to Stay this Court’s Order and Judgment pending

appeal (Doc. #91) and the arguments made before the Court at the hearing on March 9, 2023, the

Court will grant in part and deny in part the pending motion. Accordingly, it is hereby

       ORDERED Defendant the State of Missouri’s Emergency Motion for Stay of Judgment

and Injunction Pending Appeal (Doc. #91) is GRANTED IN PART AND DENIED IN PART.

The Order and Judgment is temporarily administratively stayed until such time as the U.S. Court

of Appeals for the Eighth Circuit rules on Defendants’ expected motion to stay the Order and

Judgment pending appeal. It is further

       ORDERED the parties shall meet and confer as to a reasonable expedited briefing schedule

such that the motion to stay the Order and Judgment shall be fully briefed for the Eighth Circuit’s

consideration by March 16, 2023. The temporary administrative stay shall remain in place until

the Eighth Circuit determines whether the Order and Judgment (Doc. #88) should be stayed

pending appeal.

       IT IS SO ORDERED.




DATE: March 9, 2023                          /s/ Brian C. Wimes
                                             JUDGE BRIAN C. WIMES
                                             UNITED STATES DISTRICT COURT




                                                2

       Case 2:22-cv-04022-BCW Document 96 Filed 03/09/23 Page 2 of 2
   Appellate Case: 23-1457 Page: 3 Date Filed: 03/13/2023 Entry ID: 5254573
